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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

TOP TOBACCO, L.P. and REPUBLIC                 )
TOBACCO, L.P.,                                 )
                                               )
                      Plaintiffs,              )     Case No. 1: 11-cv-4460
                                               )
v.                                             )     Magistrate Judge Maria Valdez
                                               )
MIDWESTERN CASH AND                            )
CARRY, LLC, et al.,                            )
                                               )
                      Defendants.              )

                                     EXHIBIT LIST

Exhibit Letter   Description                                          Filed Under Seal
        A        2/23/2012 Deposition of Seth Gold                    Filed Under Seal
        B        Defendants’ Answers to Plaintiff’s Interrogatories
        C        South Chicago One, Inc. File Detail Report dated
                 7/19/2010
        D        2/21/2012 Deposition of Z. Khawaja
        E        4/5/2012 Deposition of M. Ali
        F        TOP Advertising Materials                            Filed Under Seal
        G        Top Trademark Registrations
        H        MCC Sales Analysis Report
        I        Pascal Marnot Expert Report
        J        Republic Sales Invoices
        K        TOP Sales Record for MCC                             Filed Under Seal
        L        3/23/2012 Deposition of N. Choudhri
        M        2/16/2012 Deposition of N. Choudhri
        N        Defendant Southern Gas and Food’s Amended
                 Responses to Plaintiffs’ Interrogatories
        O        2/20/2012 Deposition of B. Chaudry
        P        4/5/2012 Deposition of C. Goldenberg                 Filed Under Seal
        Q        Exhibit 1 to the Deposition of C. Goldenberg         Filed Under Seal
        R        3/13/2012 Deposition of S. Sandman                   Filed Under Seal
        S        D. O’Callaghan Report 1                              Filed Under Seal
        T        D. O’Callaghan Report 2                              Filed Under Seal
        U        Report of R. Garcia                                  Filed Under Seal
        V        D. O’Callaghan Report 3                              Filed Under Seal
        W        Group Exhibit Photos                                 Filed Under Seal
        X        Republic Tobacco Sales and Promotional Expenses      Filed Under Seal
